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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA

     UNITED STATES OF AMERICA,

                                  Plaintiff,

     v.                                                                           Case No. 23-cr-241-SJM

     CODY PAUL MILLER,

                                  Defendant.

                                                             ORDER

 At the direction of Stephen J. Murphy, III, United States District Judge, it is hereby ordered that:

     Presentence investigation report (PSR) objections due to USPO: 7/12/2024
     Sentencing motions and unresolved PSR objections filed:                                   7/26/2024
      Including but not limited to motions for departure or variance and third-point motions

     Responses to PSR objections & sentencing memoranda1 filed:                                8/9/2024
     Victim impact statements & restitution requests2 due to USPO:                             8/9/2024
     Statements on behalf of Defendant due to USPO:                                            8/9/2024
     Sentencing:                                                                               9/6/2024    at 1:30 p.m.

 Pursuant to LCrR 47-2, any response shall be filed within seven days of any motion’s filing.
 Replies are not permitted without leave of Court. If leave is granted, replies shall be limited to
 five pages.

                                                                        Mark McCartt,
                                                                        Clerk of Court, United States District Court

                                                                        s/ C. Portilloz_________________________
                                                                        By: C. Portilloz, Deputy Clerk




 1
    Pursuant to LCrR32-5, the Court will not consider requests for departure or variance contained only within
 sentencing memoranda.
 2
   Unless there is an agreement as to the amount of restitution, restitution requests should be supported with appropriate
 documentation.
